      Case 20-21541-CMB                        Doc 117         Filed 02/04/25 Entered 02/04/25 14:27:05                        Desc Main
     Fill in this information to identify the case:           Document Page 1 of 4
     Debtor 1              VERONICA LOUISE HILL


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          20-21541CMB




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                 PNC BANK NA                                                                      8-2

 Last 4 digits of any number you use to identify the debtor's account                         1   7   4   5

 Property Address:                             1077 FLATWOODS RD
                                               VANDERBILT PA 15486




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $           0.00

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $           0.00

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $           0.00



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $307.99
         The next postpetition payment is due on                 8 / 1 / 2024
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


Form 4100N                                                        Notice of Final Cure Payment                                         page 1
  Case 20-21541-CMB                  Doc 117    Filed 02/04/25 Entered 02/04/25 14:27:05                           Desc Main
                                               Document Page 2 of 4



Debtor 1     VERONICA LOUISE HILL                                             Case number (if known) 20-21541CMB
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date    02/04/2025


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




Form 4100N                                        Notice of Final Cure Payment                                             page 2
  Case 20-21541-CMB                 Doc 117    Filed 02/04/25 Entered 02/04/25 14:27:05                        Desc Main
                                              Document Page 3 of 4



Debtor 1     VERONICA LOUISE HILL                                         Case number (if known) 20-21541CMB
             Name




                                                Disbursement History

Date         Check #    Name                                    Posting Type                                         Amount
MORTGAGE REGULAR PAYMENT (Part 3)
06/15/2021              PNC BANK NA                             REALLOCATION OF CONTINUING DEBT                       341.15
07/26/2021   1204782    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         574.63
08/26/2021   1207930    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         295.09
09/24/2021   1211030    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         295.09
10/25/2021   1214106    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         295.09
11/22/2021   1217142    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         295.09
12/23/2021   1220217    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         295.09
01/26/2022   1223280    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         295.09
02/23/2022   1226152    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         295.09
03/25/2022   1229124    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         295.09
04/26/2022   1232162    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         295.09
05/25/2022   1235205    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         295.09
06/27/2022   1238228    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         393.37
07/26/2022   1241164    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         344.23
08/24/2022   1244047    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         344.23
09/27/2022   1246929    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         344.23
10/25/2022   1249730    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         344.23
11/23/2022   1252523    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         344.23
12/22/2022   1255264    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         344.23
01/26/2023   1257996    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         344.23
02/23/2023   1260586    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         344.23
03/28/2023   1263373    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         344.23
04/25/2023   1266181    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         344.23
05/25/2023   1269051    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         310.65
06/26/2023   1271940    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         310.65
07/25/2023   1274684    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         310.65
08/25/2023   1277466    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         310.65
09/26/2023   1280197    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         310.65
10/25/2023   1282907    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         310.65
11/27/2023   1285585    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         310.65
12/21/2023   1288159    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         310.65
01/26/2024   1290855    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         310.65
02/26/2024   1293499    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         310.65
03/26/2024   1296150    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         310.65
04/25/2024   1298813    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         310.65
05/29/2024   1301520    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         307.99
06/25/2024   1304046    PNC BANK NA                             AMOUNTS DISBURSED TO CREDITOR                         307.99
                                                                                                                   12,046.13




Form 4100N                                     Notice of Final Cure Payment                                           page 3
  Case 20-21541-CMB            Doc 117     Filed 02/04/25 Entered 02/04/25 14:27:05                 Desc Main
                                          CERTIFICATE OF
                                          Document       SERVICE
                                                       Page 4 of 4
I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

VERONICA LOUISE HILL
1077 FLATWOODS ROAD
VANDERBILT, PA 15486

DAVID Z VALENCIK ESQ
CALAIARO VALENCIK
555 GRANT ST - STE 300
PITTSBURGH, PA 15219

PNC BANK NA
3232 NEWMARK DR
MIAMISBURG, OH 45342

KML LAW GROUP PC*
701 MARKET ST STE 5000
PHILADELPHIA, PA 19106




2/4/25                                                         /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




Form 4100N                                   Notice of Final Cure Payment                                     page 1
